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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :
                                                : Criminal No.: 18-260 (ABJ)
                v.                              :
                                                : Sentencing: April 12, 2019
 W. SAMUEL PATTEN,                              :
                                                :
                       Defendant.               :

             GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING
                 AND MOTION FOR A DOWNWARD DEPARTURE

       The United States of America, by and through undersigned counsel, submits this

memorandum in aid of sentencing. On August 31, 2018, Defendant W. Samuel Patten pleaded

guilty to one count of knowingly and willfully acting as an agent of a foreign principal without

registering with the Attorney General, in violation of the Foreign Agents Registration Act

(“FARA”), 22 U.S.C. §§ 612 and 618(a)(1). For this criminal violation, Patten faces a maximum

sentence of 5 year’s imprisonment, a fine of not more than $250,000, and a term of supervised

release of not more than 3 years.

       There is no sentencing guideline applicable to FARA violations, nor is there any analogous

sentencing guideline under these specific circumstances. See Plea Agreement, United States v.

Patten, No. 18-cr-260 (D.D.C. Aug. 31, 2018) (ECF No. 6 at 2); Presentence Investigation Report

(“PSIR”), United States v. Patten, No. 18-cr-260 (D.D.C. Apr. 4, 2019) (ECF No. 35 at 6).

Therefore, the factors set forth in 18 U.S.C. § 3553 should control Defendant’s sentence. See

United States Sentencing Guidelines (“U.S.S.G.”) § 2X5.1. While there is no advisory guideline

sentence in this instance, in accordance with the Plea Agreement (ECF No. 6 at 6), the government

concurrently moves for a downward departure pursuant to U.S.S.G. 5K1.1 because of Patten’s
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cooperation and the substantial assistance he has provided to the government. See Sealed

Addendum to this Memorandum in Aid of Sentencing.

       This case was originally investigated by the Special Counsel’s Office before being referred

to the U.S. Attorney’s Office. Consistent with the practice of the Special Counsel’s Office, the

government does not take a position with respect to a particular sentence to be imposed. Instead,

the government sets forth below its assessment of the relevant Section 3553 sentencing factors,

including the serious nature of the underlying offense, the characteristics of the defendant

(including his substantial assistance), and sentences received by similarly situated defendants.

I.     Analysis of Specific Statutory Factors Under 18 U.S.C. § 3553(a)

       When weighing the § 3553(a) factors, the Court should consider not only the nature and

circumstances of the offense and the history and characteristics of the defendant, but also the

applicable sentencing objectives—that is, that the sentence: (1) reflect the seriousness of the

offense; (2) promote respect for the law; (3) provide just punishment; (4) afford adequate

deterrence; (5) protect the public; and (6) effectively provide the defendant with needed

educational or vocational training and medical care. See 18 U.S.C. § 3553(a)(1), (2). In addition,

the sentence should reflect “the need to avoid unwarranted sentence disparities among defendants

with similar records who have been found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6).

       a.       Nature and Circumstances of the Offense and Other Admitted Conduct

       The defendant’s offense is serious, and includes multiple violations of law. As described

more fully below, the defendant violated FARA, facilitated and concealed a foreign donation to

the Presidential inauguration, and provided false testimony to and withheld documents from the

United States Senate Select Committee on Intelligence (“SSCI”). See Statement of Offense, United

States v. Patten, No. 18-cr-260 (D.D.C. Aug. 31, 2018) (ECF No. 7) (“SOF”).




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        FARA plays a fundamental role in our democracy. The purpose of FARA is “to protect the

national defense, internal security, and foreign relations of the United States by requiring public

disclosure by persons engaging in propaganda activities and other activities for or on behalf of

foreign governments, foreign political parties, and other foreign principals so that the Government

and the people of the United States may be informed of the identity of such persons and may

appraise their statements and actions in the light of their associations and activities.” 22 U.S.C. §

611, note on Policy and Purpose, 56 Stat. 248-49 (1942). As this Court succinctly put it recently,

“If the people don’t have the facts, democracy can’t work.” See Transcript of Sentencing, United

States v. Manafort, No. 17-cr-201 (D.D.C. Mar. 19, 2019) (ECF No. 554) at 63:19-20. In short,

FARA protects the integrity of the American political system by enabling Americans to consider

the identity of foreign persons behind certain speech and activities as they evaluate the substance

of that speech and activity.

        The specific circumstances of Patten’s offense go to the heart of these concerns. As

described in the SOF, the defendant worked for approximately four years to advance the interests

of a Ukrainian political party—the Opposition Bloc—before the United States Congress and in the

American media. 1 SOF at ¶ 1. The defendant performed these services through a U.S. company

that Pattern formed with a Russian national, and that received over $1,000,000 for its work, in part

through offshore bank accounts. Id. Patten’s services for the Opposition Bloc included

communicating with members and staff of Congress and the Executive Branch to set up meetings

with various foreign nationals. Id. at ¶ 2. Patten also drafted talking points for the foreign principal

to use in meetings he had set up, as well as talking points for Congressional staff to use with other




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       The Opposition Bloc, and its previous iteration—the Party of Regions—is the same
Ukrainian political party for which Paul Manafort also worked.

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members and staff in an effort to arrange even more meetings. Id. Patten’s media outreach included

drafting op-ed pieces on behalf of a Ukrainian national associated with the Opposition Bloc and

getting those pieces placed in American media outlets. Id. ¶ 4.

       In none of these instances did Patten identify that he was working on behalf of the

Opposition Bloc, as required under FARA. He did not discuss that fact with the Congressional

members or staffers or the members of the Executive Branch. Nor did he make that disclosure on

the op-ed pieces he drafted, as also required under FARA. Without those disclosures, U.S.

government officials and the American public could not effectively evaluate his representations.

       Patten engaged in all of this activity knowing that he was required to register under FARA.

The defendant had previously registered with the Department of Justice’s FARA Unit on behalf of

a different client, and he even inquired of the Ukrainian national whether he and his company

should file for the conduct described. Id. ¶ 5.

       Patten also admitted to other conduct for which he was not charged and that was related to

his work for the Opposition Bloc. Patten facilitated the purchase of $50,000 worth of tickets to

events associated with the Presidential inauguration in January 2017. Id. ¶ 6-7. Patten used a straw

purchaser to buy the tickets in order to conceal the fact that the money was provided by the

Ukrainian national to Patten’s company through an offshore bank account. Id. ¶ 7. Patten caused

the payment knowing that there was a restriction on foreign donations to the inauguration. Id. ¶ 6.

       In January 2018, Patten gave voluntary testimony to the SSCI on topics that included his

representation of foreign principals in the United States and his actions in connection with

inaugural events. Id. ¶ 8-9. Patten intentionally withheld documents from SSCI relating to his

concealment of the foreign payment for inauguration tickets and also gave false and misleading

testimony that obscured his role in the purchase, as well as his FARA violations. Id. ¶ 9.




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       b.      History and Characteristics of the Defendant

       Patten’s history and characteristics present a number of mitigating factors to be considered

by the Court in determining his sentence.

       Patten is 47 years old, married, and has a son from a previous marriage. PSIR at 2, 8. He

graduated from Georgetown University in 1993, with a Bachelors of Arts degree in American

Government. Id. at 12. Until the pendency of this investigation and ultimate prosecution, Patten

has been regularly employed in a variety of professional jobs. Id. at 12-14. Among other things,

he has worked as a newspaper reporter, as a foreign policy and defense advisor for a member of

Congress, as an assistant to a presidential campaign, and as a senior advisor at the U.S. Department

of State. Id. Patten has also worked for non-governmental organizations (“NGOs”) that promote

human rights and democracy abroad, often times placing him in dangerous locations overseas. Id.

at 13-14. In short, in addition to various periods of self-employment as a political consultant, Patten

has a long record of public service, including employment with both the executive and legislative

branches of the U.S. government as well as employment with NGOs. Id. Prior to engaging in the

criminal conduct identified above on behalf of the Opposition Bloc, and his subsequent efforts to

conceal that conduct, Patten appears to have a led a helpful and exemplary professional life.

       Currently, while unemployed, Patten has used some of his free time to volunteer with a

local nonprofit organization that focuses on helping children succeed in school by providing

tutoring, workshops designed to teach necessary skills to successfully navigate middle-school and

high-school and graduate on time, and with outdoor recreation opportunities. PSIR at 11. It is also

evident from reviewing the Presentence Report that Patten has the full support of his wife and

family, and that he has effectively used the time that he has been unemployed to seek help for and

address a number of personal issues that he has struggled with throughout his life. Id. at 10-12.




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        With regards to his conduct during the pendency of this investigation and prosecution,

Patten began cooperating with the Special Counsel’s Office shortly after being contacted by

investigators, and well before his guilty plea. Likewise, Patten deserves credit for accepting

responsibility and pleading guilty to a criminal information prior to indictment. Moreover, Patten

admitted to all of his criminal conduct, which was included in the Statement of Offense as part of

his guilty plea.

        In addition, Patten provided substantial assistance to the government, and therefore the

government is contemporaneously moving for a downward departure pursuant to Section 5K1.1

of the Guidelines. Specifically, Patten was a potential witness in the case of United States v.

Manafort, No. 17-cr-201 (ABJ), and he was willing and able to testify about Paul Manafort’s work

in Ukraine for the Opposition Bloc and related matters. To prepare for his anticipated testimony,

Patten met with prosecutors before trial and he provided documentary evidence supporting his

expected testimony. Ultimately, because Manafort pled guilty in that case, Patten’s testimony was

not needed. In addition, due to his prior work and experience as a political consultant overseas,

Patten has served as a valuable resource for the government in a number of other criminal

investigations, providing helpful information about additional individuals and entities. In total,

Patten has met with government investigators, in person or by phone, a total of nine separate times

to answer numerous questions and explain various documents. In all of these sessions, Patten has

been honest and straightforward with government investigators. The government will also file an

Addendum to this Memorandum in Aid of Sentencing, where the government more fully describes

the nature of Patten’s cooperation and assistance to the government. 2



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       Because the Addendum includes sensitive information about other investigations and
persons who have not been (and may not be) charged with a crime, the government is seeking
permission from the Court to file the Addendum under seal.

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       As calculated by the United States Probation Office, the defendant has a criminal history

score of zero and no prior contacts with the criminal justice system. PSIR at 7. In addition, since

his guilty plea on August 31, 2018, Patten has been on release on his personal recognizance, and

he has complied with all of his release conditions, with the exception of missing a phone call

check-in on February 4, 2019, for which he received an oral warning. Id. at 3.

       c.       The Need to Avoid Unwarranted Sentence Disparities

       Although there have only been a handful of FARA criminal convictions over the last

twenty years, many of those convictions have resulted in terms of imprisonment. 3 The most recent

such cases include:

       •     U.S. v. Paul J. Manafort, Jr. (D.D.C.) – In 2018, Manafort pleaded guilty to,
             among other things, conspiracy to commit multiple offenses, including
             violating FARA by failing to register and by providing false statements in a
             document filed with FARA. Manafort failed to register under FARA as an agent
             of the government of Ukraine, the Ukrainian Party of Regions, and former
             Ukrainian President Yanukovych. Manafort was sentenced to the statutory
             maximum 60 months for the conspiracy to violate FARA.

       •     U.S. v. Prince Asiel Ben Israel (N.D. Ill.) – In 2014, Ben Israel pleaded guilty
             to failure to register under FARA as an agent for a foreign government; namely,
             lobbying on behalf of Zimbabwe for lifting sanctions on Robert Mugabe and
             other top Zimbabwean government officials. Ben Israel was sentenced to seven
             months in prison.

       •     U.S. v. Mark Deli Siljander (W.D. Mo.) – In 2010, former U.S. Representative
             Siljander pleaded guilty to obstruction of justice and acting as an agent of a
             foreign principal without registering under FARA, relating to his work for the
             Islamic American Relief Agency, an Islamic charity with ties to international
             terrorism. Siljander was sentenced to one year and one day in federal prison
             without parole. Siljander’s co-defendant, El-Siddig, received a probationary
             sentence for conspiring to violate FARA.


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       Other cases prosecuted by the Special Counsel’s Office for making false statements—
which is one of the categories of other criminal conduct to which Patten admitted—resulted in
sentences that included brief terms of incarceration. See United States v. Papadopoulos, 17-cr-182
(D.D.C. Sept. 7, 2018) (14 days); United States v. van der Zwaan, 18-cr-31 (ABJ) (D.D.C. Apr. 3,
2018) (30 days).

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       •    U.S. v. Tongsun Park (S.D.N.Y.) – In 2007, Park was convicted at trial for
            conspiracy to violate FARA, 18 U.S.C. § 951, and money laundering in
            connection with a scheme to lobby for easing United States and United Nations
            sanctions on Iraq and to corruptly influence the award and conditions of Oil for
            Food contracts. Park was sentenced to 60 months’ imprisonment.

       •    U.S. v. Nisar Chaudhry (D. Md.) – In April 2018, Chaudhry pled guilty to an
            information charging a willful failure to register under FARA as an agent of the
            Government of Pakistan. Although Chaudhry is pending sentencing, the
            government agreed to allocate for a sentence of five years’ probation, with six
            months of home confinement as a condition of probation.

While Patten also violated FARA, the government notes that his cooperation and substantial

assistance are critical distinguishing factors from the cases and sentences identified above. In the

above cases, none of the defendants successfully cooperated with the government, nor did any of

them receive from the government a recommendation for a downward departure pursuant to

U.S.S.G. 5K1.1 for providing substantial assistance. Here, as described above and in the

Addendum to this Memorandum in Aid of Sentencing, Patten’s cooperation was immediate, and

his assistance was substantial. Accordingly, Patten’s conduct is distinguishable from all of the

above-cited cases, and the Court should take that distinction into account when fashioning an

appropriate sentence.

II.    Motion for a Downward Departure

       As described above, Patten cooperated with and provided substantial assistance to the

government warranting a downward departure. Pursuant to U.S.S.G. § 5K1.1, upon motion of the

government, the Court may depart from a guideline sentence to reflect a defendant’s substantial

assistance in the investigation or prosecution of another person who has committed an offense.

While as stated previously there is no applicable guideline for Patten’s offense from which the

Court would depart in imposing a sentence in this case, the Court should take into account that, in

the government’s view, Patten has satisfied the criteria set forth in the guidelines for a departure.




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Therefore, the government formally moves the Court for such a “departure” in this case so that the

Court’s ultimately sentence properly reflects Patten’s substantial assistance to the government.

III.   Conclusion

       With no applicable guideline range for this offense, the Court has even broader discretion

in this case to fashion Patten’s sentence. For the foregoing reasons, the government asks that the

Court impose a sentence consistent with the severity of the offense, as well as defendant’s

characteristics and his early acceptance of responsibility and substantial assistance to the

government.

                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 8, 2019, a copy of the foregoing Government’s Memorandum
in Aid of Sentencing and Motion for a Downward Departure was sent via electronic mail to Stuart
A. Sears, Esquire.

                                                                  /s/
                                                   Fernando Campoamor Sánchez
                                                   Assistant U.S. Attorney




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